Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 1 of 24 PageID: 70




                                 EXHIBIT D
                 Messenger Second-Fifth Grade IEP Documents
              Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 2 of 24 PageID: 71
                                                                    Provo School District                                                              Sp.Ed.11
                                                                                                                                                       Aug.89
                                                                    Special Education Services
                                                                        Parental Prior Notice



     Re:                                                                                                                    Da- q- ,2/*?7
     w, /Ur' t        /fJrs-' /Tiesse-ncJrr
                                              uspecial
     ra" 0n rl Vo, C fe st                             Education Multidisciplinary team is considering the following action(s) chetked below:
                  /
     n Referral for Evaluation                             X Developing an Individualized Education Program for the student
     il Evaluating the student's special needs             n Reviewing or revising the student's Individualized Education Program
     il Determining the student's eligibility for          n Re-evaluating the student's need for continued special education services
        special education services                         n A change in classification for receiving special education services
     ft A change in Special Education service delivery tr otts
     1.   This action is being proposed because of:

FD AcademicConcerns         Ospeech/LanguageConcerns
   Continued Eligibility to receive special education services
                                                                                  il
                                                                               DGhq
                                                                                        Behavior Concerns       il   Health Concerns      D Program Planning


     2.    Prior to this proposal, the following options were attempted and rejected:
     .I    Studcnt and Parent Conferences         il   Academic Adjustments and          tracking D      Schedule/Teacher Change          D Tutoring
     t     SchoolDisciplinaryActions ftNotApplicable OOttsr
     3. The above listed options were rejected because:
     C    Concems expressed in item 1 continue to      exist &   Not   Applicable        il   Other

     4. The action proposed above is based on the following evaluation procedures, tests, or records, or reports:
     t                         'fl Achievement Test Scores il Curriculum Based Assessment
          Teacher Observation and        Records
BMultidisciplinary Team Report :l Not Applicable           &Olhcr f <t/. /eiinl
     5. Other factors relevant to the action proposed above            are:

E         Parent   Concern fl     Student   Conccm il None              C Other


 Your assistance is requested          to:   D Sign and return the permission to test form.            (Tcsts to bc uscd as noted on the form.)
                                             D Completetheenclosed                                               and retum it tous.
                                             F, Arrange to mect with the team to discuss thc above proposed action, as described below.

                                                                 Proposed Meeting Arrangements


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          At the prcsent time weanticipate that

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il        for you so that we can finalize the plans for the meeting. If you wish to have someone else attend with you, you may do so.
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Pleaseott            fles-o hla( 1rt                                                                      bctwcenthehours   ot   f,{ <O     ura   / lOA     ,f
you have any questions about the information provided above.
A copy of          P{g!t Rbhts     is enclosed. Please read
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                 Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 3 of 24 PageID: 72
                                                                     Provo School District                                                                       Sp.Ed.     11
                                                                                                                                                                 Aug.89
                                                                    Special Education Services
                                                                       Parental Prior Notice



                                                                                                                               D"* ? - .<:-[7
     Dear

     The                                                  Special Education Multidisciplinary team is considering the following action(s) checked below:


     F Referral for Evaluation                                         D     Developing an Individualized Education Program for the student
     tr Evaluating the student's special needs                         D     Reviewing or revising the student's Individualized Education Program
     a Determining the student's eligibility for                       D     Re-evaluating the student's need for continued special education services
            special education services                                 il    A change in classification for receiving special education services
     D      A change in Special Education service delivery             D     OtlE

     1.   This action is being proposed because of:

,El AcademicConcerns                     Dspeech/LanguageConcerns               E ##"lfift',J:#.,?                 D Health   Concerns          D Program Planning
     t     Continued Eligibility to receive special education services OAhcr

     2. Prior to this proposal, the following options were attempted and rejected:
     D     Student and Parent Conferences O Academic Adjustments and tracking                           D   Schedule/Teacher Change             D Tutoring
     D     School Disciplinary Actions p Not Applicable D Oh€r_

     3. The above listed options were rejected because:
     D    Concerns exprcssed in item 1 continuc to     exist flNot Applicable D Other
     4. The action proposed above is based on the following evaluation procedures, tests, or records, or rcports:
     fl   Teacher Observation and        Records D Achievement Test Scores il Curriculum                         Based Assessment
     fl Multidisciplinary         Team   Report X"Not Applicable           DGhq
 5. Other factors relcvant to the action proposed above               are:

FParentConcern DstudentConcem DNone                                   DOther


 Your assistance is requested            to: E     Sign and- return the peEissie!_lo lelitform. (Tests to be used as noted on the form.)
                                              D    ComplctifhEdclosed                                                   and retum i*o us.
                                              D    Arrange to meet with the team to discuss the above proposcd action, as described below.


                                                                 Proposed Meeting Arangements
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i                         Date:                       Time:                         Wewillbemeetingat:
          At thc present time we anticipate that

                                                                                    will   be mecting   with us. Pleasc let us know if this   is a convenient   time
ii        for you so that we can finalize the plans for the mceting. If you wish to have someonc else attend with you, you may do so.
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you have any questions about the information provided above.
A copy of Parent Rights is enclosed. Please read them carefully. We will review thesc with you when we meet.


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       Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 4 of 24 PageID: 73

PROVO SCHOOL DISTRICT                                                         I. E. P.                                                   Sp.Ed.5c
Provo, Utah 84504                                                      GOALS AND OBIECTMS                                                Aug.89


Student Name:                                                                                                                  Dare:   LJ*+1
Annual Goal:



Person Responsib            1",   v14/4^ %-U'u)
           If service is provided   less than   daily complcte the following:                                                                ;


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                                  Duration of service session (hrs./mins.):                                                                  :




Short Term Objectives: (Minimumof                    2)
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 Eva   I   uation/Da ta Coll ection Procedure       Indicate at I   egst   7   )

              Observa tion (include fre quen cy )

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                    Formal Asscssment (fesl)
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                                                                                   Quarterly Review of Short Term Obiectives
                                                                                          2nd                      3rd

                 Date Reviewed

Goal Met, Progress Made,
      No Change
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       Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 5 of 24 PageID: 74

 PROVOSCHOOL DISTRICT                                                                 I. E. P.                                                               Sp.Ed.5c
Ptovo,Utah u604                                                         coAls AND OBIECTMS                                                                   Aug.89


Student Name:                                                                                                                                     ,^r".7    ^Jt-*7
Annual Goal:



Person Responsib         r"r     &g''                            % (A)-,'
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Short Term Objectives: (Minimumof                           2)
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Evaluation/Data Collection Procedure 1ndicatcat lust 7)

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         Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 6 of 24 PageID: 75

 ROVO SCHOOL DISTRICT                                                               I. E. P.                                                         Sp.Ed,5c
Provo, Utah 84504                                                   GOALS AND OBJECTIVES                                                             Aug.89


Student Name:                                                                        School:

Annual Goal:



Person Responsib        1",   \;14!4-.{- fl6.(Z-:)

     If service is providcd less than daily complete the following:
                                                              Circle days served:
                              Duration of service session (hrs./mins.):


Short Term Objectives: (Minimumof 2)




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 Evaluation/Data Collection Procedure Indicatcat                 last   7)


        Observation ( include frequency )

         I   nforrnal Asscssmcnt (method )

                 Formal Assessmcnt (i-est)

                                                                             Quarterly Review of Short Term Objectives
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             Date Reviewed      1o    - ){-*<                                 /-/)-7c                     ?-          e/-?o
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      Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 7 of 24 PageID: 76

 fi.OVO SCFIOOL DISTI(ICT                                                           I. E. P.                                                                      Sp.Ed.5c
Ih)vo, Utah   &1604                                                          GOALS AND OIUECTMIS                                                                  Aug.89


Student Name:                                                                                 School:

Annual Goal:



Person Responsib rc,          Jt P                  o,, %                    Ut)-.,
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 Evaluation/Data Collection Procedure                    Intlicatc   at   last   1)


         Observation (include t'requency )

         I   nformal Asscssmcnt (nethod)

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                                                                                      Quarterly Review of Short Term Objectives
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                Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 8 of 24 PageID: 77
              RESOURCE_P ROGRESS REPORT
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              Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 9 of 24 PageID: 78
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         Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 10 of 24 PageID: 79
         RESOURCE-P ROGRESS REPORT                             Student:
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            Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 11 of 24 PageID: 80
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      Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 12 of 24 PageID: 81

PROVO SCHOOL DISTRICT                                                                                                                                     Sp.Ed.5a
Provo, Utah 811604                                                                                                                                        Aug.89

                                                INDIVIDU ALIZED EDUCATION PROGRAM
                                                                                  0.E.P.)


     student:                                                                     Grade:            School:

     Birthdate:                                   Parent/ Guard ian / Surrogate:                -
     Phone:                                           Address:                                                                             Zip:


     Primary Classificadon:
      Isthereasecondaryhandicappingconditionof               tr   Yes   E   No                                                                    -
                                                                                                        Amount of time served by Special Education weekly.
      Communicative Dsorder present?
                                                                                                        Hours:             Mins.:
     Date Services Initiated:                                                                           Amount of time student will participate in the regular
                                                                                                        education program.
                                                                                                                 -                  -
     Duration of I.E.P.:                                                                                Hours:

     Related Services which are required for student to benefit from special education      :

                                                                                                                 -Mins.:



                                Statement of Student's Current Level of Educational Strengths and Weaknesses




My sigtuture signifia    that I haoe participated in the dnelopment of the goab     Signatures                                            Date
outlined anrl that I understand and haue receiod a copy of my parental ights.

         E   Parent     E   Guardian        E   Surrogate:
         D   Parent     E   Guardian        D   Surrogate:
                                LEA Representative:
                                 Classroom Teacher:
                                 Special Ed. Teacher:
                            Counselor,/Psychologist:
              Speech / Lang.     /Hearing Specialist:
                                                 Student:
                                                   Other:

                                      *'*   Whitecopyretainedinbluefolder,yellowforschooluse,pinkcopytoparentorstudmt.      **'
     Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 13 of 24 PageID: 82

PROVO SCHOOL DISTRICT                                                              I. E. P.                                                                              Sp.Ed.5c
Provo, Utah 84604                                                 GOALS AND OBJECTMS                                                                                     Aug.89


Student Name:                                                                       School:                                                        Date:

Annual Goal:



Person Responsible:

                                                                                                                                                              ...................\
                                                                                                                                                                                 :
      If service is provided less than daily complete the following:
                                                                                                                                                                                     i
                                                          Circle days served:                    M              T               w                      Fi
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                            Duration of service session (hrs./mins.):                                                                             tl!                            r



Short Term Obiectives: (Minimum                ot'   2)




 Evaluation/Data Collection Procedure            Ondicate   at lust   7)


         Observation ( include f re quency )

         Informal Assessment (tnethod)

               Formal Assessment (fesl)

                                                                           Quarterly Review of Short Term Objectives
                                              1st                                 2nd                                    3rd                            4rh

           Date Reviewed

 Goal Met, Progress Made,
       No Change

      Comments/Results:




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     Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 14 of 24 PageID: 83

PROVO SCHOOL DISTRICT                                                       I. E. P.                                                Sp.Ed.5c
Provo, Utah 84504                                                    GOALS AND OBJECTTVES                                           Aug.89


Student Name:                                                                       School:                                 Date:

Annual Goal:



Person Responsible:



      If service is provided less than daily complete the following:
                                                        Circle days served:                   M       T           w
                            Duration of serice session (hrs./mins.):



Short Term Objectives: (Minimum ot' 2)




 Evaluation/Data Collection Procedure            $nd1cate   at   lazst 1)


         Observation (include   fre quency   )

         Informal Assessment      (rnethod)


               Formal Assessment (tesl)

                                                                            Quarterly Review of Short Term Obiectives
                                             lst                                   2nd                      3rd              4th

           Date Reviewed

 Goal Met, Progress Made,
       No Change

      Comments/Results:




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        Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 15 of 24 PageID: 84
PROVO SCHOOL DISTRICT                                                                                                                                    Sp.Ed.5a
Provo, Utah 84504                                                                                                                                        Aug.89

                                                  INDIVIDUALIZED EDUCATION PROGRAM
                                                                                    o.E.P.)


     Student:                                                                       Grade:         School:

     Birthdate:                                      Parent/Guardian,/ Surrogate:             -
     Phone:                                              Address:                                                                         Zip:


     Primary Classification:
      Is there a secondary handicapping condition of            tr YesE No                                                                       -
                                                                                                       Amount of time served by Special Education weekly.
      Communicative Dsorder present?
                                                                                                       Hours:               Mins.:
     Date Services lnitiated:                                                                          Amount of time student will participate in the regular
                                                                                                       education program.
                                                                                                                -                    -
     I)uration of I.E.P.:                                                                              Hours:

     Related Services which are required for student to benefit from special education:
                                                                                                                -Mins.:



                                   Statement of Student's Current Level of Educational Strengths and Weaknesses




                                                                                      Signatures                                         Date
My sigtuture signifia that I    haoe participateil in the darclopment of the gmls
outlined and that   I understanil anlhave receipeil a copy of my parental nghls.

         E    Parent       E   Guardian       E   Surrogate:

         E    Parent       E   Guardian       D   Surrogate:
                                    LEA Representative:
                                        Classroom Teacher:
                                        Special Ed. Teacher:
                               Counselor,/ Psycholo gi st:
               Speech,/Lang. / Hearing Specialist:

                                                    Student:
                                                       Other:

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       Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 16 of 24 PageID: 85

                                                                   Provo School District                                                                             Sp.Ed.   11
                                                                                                                                                                     Aug.89
                                                                  Special Education Sen"ices
                                                                      Parental Prior Notice



 Re:                                                                                                                                    DaE
                     Studcflt's Ntmc

 har
The                                                Special Education Multidisciplinary team is considering the followint action(s) checked below:

 D     Refenal for Evaluation                                        il    Developing an Individualized Education Program for the student
 D     Evaluating the student's special needs                        o     Reviewing or revising the student's Individualized Education Program
 il    Determining the student's eligibility for                     o     Reevaluating the student's need for continued special education services
       special education services                                    o     A change in classification for receiving special education services
D      A chang" in Special Education service delivery                f,    OtE
i.    This action is being proposd because of:
o     AcademicConcerns flspeech/LanguageConcerns                                0    Behavior       Concerns D Health                  Concerns      fl Program Planning
f,     Continued Eligibility to receive special education services              lotl'€r
2. Prior to this proposal, the following options were attempted and rejected:
D Student and Parent Conferences Cl Academic Adjustments and tracking 0 ftiredute/Teacher Change D Tutoring
Cl School Disciplinary Actions O NotApplicable OOtiE
3. The above listed options were rejected because:
C    Concerns expressed in item 1 continue to   exist 0       Not Applicable          0   Other

4. The action proposed above is based on the following evaluation procedures, tests, or records, or reports:
C    Teacher Observation and     Records il Achievement Test Scores 0 Curriculum                                      Based Assessment
fl    Multidisciplinary Team     Report O Not Applicable            0qhs
5. Other factors relevant to the action proposed above              are:

ilParentConctrn llstudentConcern BNone f,Other

Your assistance is requested     to: 0     Sign and return the permission to test form. (Tests to be used as noted on the form.)
                                       0 Completetheendosed                                                                                and return it to us.
                                       0   Arrange to meet with the team to discuss the above proposed action, as described below

                                                             Proposed Meeting Arrangements


                                                                                    Wewillbenreetingat
     At the present timeweantkipabthat
                                                                                  will   be meeting       with us.     Please let us   know if this is a ccnvenient time
     for you so that we can finaiize the plans for the meeting. If you wish to have someone else attend with you, you may do so.



Please call                                                                                                       betweenthehousof                      and   _
you have any questions about the information provided above.
A copy of Parent Rights is enclosed. Please read them carefully. We will review these with you when we meet.
                                                                                                                                          -
                                                                                         Sincereln


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PROVO SCHOOL DISTRICT                                                    I. E. P.                                                     Sp.Ed.5c
Provo, Utah 84504                                                 GOALS AND OBIECTIVES                                                Aug.89


Student Name:                                                                    School:                                      Date:

Annual Goal:



Person Responsible:


      If service is provided less than daily complete the following:
                                                          Circle days served:
                            Duration of seruice session (hrs./mins.):



Short Term Objectivesz (Minimum ot' 2)




 Evaluation/Data Collection Procedure              Indicatc at last 7)

         Observation ( include   t're quency   )

         Informal Assessment (ncthod)

               Formal Assessment (fesl)

                                                                         Quarterly Review of Short Term Objectives
                                               lst                              2nd                        3rd                 4th

           Date Reviewed

 Goal Met, Progress Made,
       No Change

      Comments,/Results:




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      Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 18 of 24 PageID: 87

PROVO SCHOOL DISTRICT                                                    I. E. P.                                                               Sp.Ed.5c
Provo, Utah 84504                                                 GOALS AND OBIECTMS                                                            Aug.89


Student Name:                                 r         ---       ,i'.''',       School:                 '.   i;     -.          Date:.'.   ,



Annual Goal:



PersonResponsiblsl             ,,        '         ." ",-'
  I                                                                                                                                                 g


       If service is provided less than daily complete the following:
                                                          Circledaysserved: M                      T           W          R   ._._,,_n
                            Duration of service session (hrs.,/mins.):



Short Term Objectives: (Minimumof                  2)




 Evaluation/Data Collection Procedure          gndicate   at   tast 1)

          Observation (include t'requency )

          Informal Assessment (tnethod)

               Formal Assessment (fesf)

                                                                         Quarterly Review of Short Term Objectives
                                             1st                               2nd                       3rd                        4rh

            Date Reviewed

Goal Met, Progress Made,
      No Change

       Comments/Results:




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         Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 19 of 24 PageID: 88
PROVOSCH@LDISTRICT                                                                                                                         Sp.Ed.2
Itovo,utah    84504                                                                                                                        Aug.90

                                      PARENTAT PERMISSION FOR EVALUATION FORM




   TotheParert(s)of    :                                                                                        Date:   /      1,2f,            ?7:-
   Sludent's Birthdate:                                                                                                      Grads    5

  The purpose of this evaluation is to deterrtine, by testing in several areas, your child's educational and/or social-emotional needs.
The tests checked on the back of this form      will   be given by qualified personnel and   will    be in the student's primary language with an
interpreter when appropriate. Evaluation procedures         will be selected and administered free of racial and cultural bias to the
greatest   extent possible. No single test wili be used as sole criterion for making detenninations about your child. The evaluation
may include individual testing in the areas indicated on the back, observations of the student in a group setting, parent interviews,
teacher interwiews, and/or a review of existing school records cr reports.


  As a parent, you are entitled to receive written notice and give written consent before the school initiates an evaluation of your
child.   If you disagree    with the results of this evaluation, you may request an independent evaluation. Contact your local principal
if you have questions.



                      Areas to be oaluated and specific tests uthich zttill be useil ate indicated on the back of this forn,


         If you have any questions concerning this evaluatio& please contact the following person:

         \t^*= J / 4-&?-tc:. /r-A-                                   position:   n*     h,.!,zt c*                 Phone:   z,z.t   -qn3

   I DO hereby $ve my pernission for the evaluation requestd. I understand that all results will be kept confidential                     and
   reviewed with me.



                       Signature of Parent/Guardian/Surrogate                                   Date




   I DO NOT hereby          give my permission for the evaluation requested.          I understand that this means my child will not be
   evaluated by special education for possible placement and senrice.




                       Signature of Parent/Guardian/Surrogate                                   Date




               I have received prior notice of this action and I understand and have received a copy of my parental rights.


                                                           Initial of Parent/Guardian                            Date
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                                                                   Provo School District                                                                            Sp.Ed. 1l
                                                                                                                                                                    Aug.9
                                                                   Special Education Services
                                                                     Parental Prior Notice



 Re:                                                                                                                              DaE
                      Studcnt's Namz

 Dar                                                           ,

TheSpcrcialEducationMultidisciplinaryteamisconsideringthefollowingaction(s)checkedbelow:
f]     Referrat for evaluation                                       O     Developing an "Individualized Education Program" for the student
D      Evaluating the student's special needs                        D     Reviewing or revising the student's "Individualized Education Program"
D      Determining the student's eligibility for                     D     Re-evaluating the student's need for continued special education services
       special education services                                    O     A .hang" in classification for rcceiving special education services
D      A change in special education service delivery                Ll    GtEr

1. This action is being proposed because of:
O Academicconcerns Ospeech/languageconcerns fl Bchaviorconcerns DHealthconcerns OProgramplanning
D      Continued eligibility to receive special education services            Dotts
2. Prior to this proposal, the following options were attempted and rejected:
-lStudent and parent conferences O Academic adjustments and tracking D fthcaulc/tcacher change D Tutoring
D School disciplinary actions D Notapplicable DCh€r
3. The above listed options were rejected because:
D    Concems expressed in item 1 continue to   exist    D Not applicable O Other

4. The action proposed above is bascd on the following evaluation procedures, tests, rccords, or rcPorts:
ll   Teacher observation and      records 0 Achievement test scores CI Curriculum based assessment
O Multidisciplinary team          report O Not applicable           flCts
5. Other factors relevant to the action proposed above              are:

D Parentconcqn D Student               concem fl None               O Other


Your assistance is requested      to:   D Sign and return the permission to test form.       (Tests to be used as noted on the form.)
                                        D Complctetheencloeed                                                        and return it to us.
                                        O Arrange to meet with         the team to discuss the above proposed action, as described below.

                                                            Proposed Meeting Arangements


              Date:                                                               Wewillberncctingat:
     At the present time we anticipab that
                                                                                  will   be meeting   with us.    Please let us   know if this is   a   convenient time

iI   for you so that we can finalize the plans for the mecting. If you wish to have someone elsc attend with you, you may do so.



Pleasecatl                                                                                                 bdweenthehouilsof                            and               it
                              P.6oi's Nana                                  Phona Ntnbar
you have any questions about the information provided above.
A copy of "Parent Rights" is enclosed. Please read it carefully. We will review this with you when we meet.
                                                                                                                                      -                       -
                                                                                         Sincerely,



                                                 -'   White copy retained in blue folder, yellow apy to parent.   '-
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PROVO SCHOOL DISTRICT                                                                                                                                                                Sp.Ed.5a
Provo, Utah 84604                                                                                                                                                                    Aug.89
                                                    INDIVIDU ALIZED EDUCATION PROGRAM
                                                                                            (I.E.P.)


      Student:                                                                   Grad ot
                                                                                                            (i'       School:
                                                                                       E.
      Birthdate: f ;1        :"-r""     ,{/             Parent/Guard ia n /Surrogate: f L'ti*"                           a.

      Phone:       '?lt:*".;,!'>''?                          Address:               '/ 7 e(1,          ^/ 5rJ o! )t                                               Zip: -7 i'' ts t";

      Primary Classification:
      Is there a secondary              ctrnclition         of     O      Yes Qzy' No
                                                                                                                          Amount of time served by Special Education weekly.
      Cornrnunicative Disorder present?
                                                                                                                          Hours:    /      vinr., r'5
      Date Services Initiated:           '"f iL''        q {
                                                                                                                          Amount of time student      will participate in the regular
                                                                                                                          c'ducation program.
      Duration of I.E.P.:
                                   {;.-   *   /{,t 7y                                                                     Hours:
                                                                                                                                    4 s'        Z-' c'
                                                                                                                                   32(gl-Mins.: ./.J
      Related Sen,ices which arc rt't1r,rirc.d for stuclcnt to bt'ncfit from spccial cclucation         :




                                   Statement of Student's Current Level of Educational Strengths and Weaknesses

                                                                                                                                                                                          i.6';'



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My signature significs that I   haue   participnlul in lhe drutk4tnrnt ry'llrc.qoa/.s         Signatures

                                                                                                                  I
          o    Parent o Guardian o                  Surrogate:       f
          o    Parent o Guardian o                  Surrogate:
                                   LEA Representative:
                                                                              i'
                                                                                                                     t' t , i , ./                               i /..1 i ,,-
                                                                                                                                                                                ',
                                       Classrnom       Teacher: -/;                  .., .- . (.'t.l,t                                                   tt,/
                                       Special Ed, Teacher:
                                                                     - .:
                                                                          :

                                                                                   r-aLe-..,.u-'-''' , t-.t.. ... .i                                    '/:t    rt.',' ;'jf
                             Counsel orl Psychologist:

               Speech/ Lang. / Heari ng Specialist:

                                                       Student:
                                                         Other:

                                                                                                                                                ++*
                                            "** Whitecopyrdnincdinbluefilrlcr,yallozuforsclnolusa,pinkcoytytopnrenlorstudctrt.
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     PROVO SCHOOL DISTRICT                                                     I. E. P.                                                                              Sp.Ed.5b
     Provo, Utah 84604                                                  GOALS AND OBJECTMS                                                                           Aug.89
                             ,4
 Student Name:                                                                                School:                                                   Date: 'y''   i'r'   ."i'-3"

 Annual Goal:



 Person Responsible:




 Short        rm Objectives: (Minimumof               2)
il




     Evaluation/Data Collection Procedure Inrticatent tmst               7)


             Observation (incl   ude frequen   cy)

             Informal Assessment      (me thod   )   /../o ,'rler,                     ,,!n-r        nr-ar,   lrt
                  Formal Assessment (fesf)

                                                                              Quarterly Review of Short Term Obiectives
                                                                                        2nd                                         3rd                  4th

               Date Reviewed

     Goal Met, Progress Madg
           No Change

          Comments,/Results:




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                                                                                              for
      Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 23 of 24 PageID: 92
                                                                                                                                                                                               Sp.Ed.5a
PROVOSCHOOL DISTRICT
Provo, Utah 846M                                                                                                                                                                               Aug.89

                                                    INDIVIDU ALIZED EDUCATION PROGRAM
                                                                                              (r.E.P.)



      Student:                                                                                    Grade:                    School:

      Birthdate:                                       Parent/Guard ian/Surrogate:                         I     -1."":!


      Phone:
                                         ,-/                  Address:                                                                                                             Zip:           "

      Primary Classification:
                                 -!,-_i
       Is there a secondary handicapping condition            of     O      Yes    O. No'
                                                                                                                                   Amount of time sepved by Special Education weekly.
       Communicative Dsorder present?                                                                                                            '-            L'        -/'---.
                                                                                                                                   Hours:        ^    ""   Mins.:
      Date Services Initiated:                                                                                                    Amount of time student            will participate in the regular
                                                                                                                                  e'ducation program.               -_
      Duration of I.E.P.:                                                                                                         Hourr' . rl         '    Mins.:

      Related Services which are retluirc.d for stutlc'nt to br:ne fit from spc'cial oclucation:
                                                                                                                                                                    -



                                  Statement of Student's Current Level of Educational Strengths and Weaknesses




                                                                                                   Signatules                                                                      Date
My signatrre signifit:s lhnt I haurt participalul in tttt' tlcutloltnu,nt oj'Iltt goals
outlined and that I undarsland and hnuc rcuiuul a copy of my pnrcnlnl rigltls.

          o     Parent o      Guardian          o   Surrol;ate:

          o     Parent o      Guardian          o   Surrogate:
                                   LEA Representative:
                                    Classrclom Teacher:
                                    Special Ed. Teacher:
                             Counselor,/ Psychologist:
               Speech/Lang./ Heariug Specialist:
                                                      Student:
                                                         Other:

                                          "**   Wlrite copy   rttnirctl in lluc foldn', ytllotu   fir   sclnol   use,   pittk colty to parntt or studcnt. ""*
    Case 3:17-cv-03755-FLW-DEA Document 2-6 Filed 05/26/17 Page 24 of 24 PageID: 93

PROVO SCHOOL DISTRICT                                                                     I. E. P.                                                                                    Sp.Ed.5b
Provo, Utah 84504                                                                  GOALS AND OBIECTIVES                                                                               Aug.89


Student Name:                                                                                                School:                                                      Date:

Annual Goal:

                                                                                                                                                                                  -
Person Responsible:                        /a- , t-




      If service is provided less than daily complete the following:
                                                                      Circle days served:                                                                    WRF
                              Duration of service session (hrs./nrins.):



Short Term Objectives: (Mininrunt                           of 2)

                                     '.;          At.           :.   ./




 Evaluation/Data Collectiorr Procedure                       (tndicrilc   nt   ttust   I)

         Observa tion ( irt cl ude    .fre qu er t cy   )

         Informal Assessment (metlnd)

               Formal Assessment (fcsf)

                                                                                            Quarterly Review of Short Term Objectives
                                                                                                        2r'rd                                          3rd                 4th

            Date Reviewed

 Coal Met, Progress Made,
       lrlc Change

      Comments/Results:




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